        Case:18-40955-EJC Doc#:41 Filed:10/22/18 Entered:10/22/18 14:59:35                               Page:1 of 1


         IT IS ORDERED as set forth below:




         Date: October 22, 2018



_____________________________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                                           Southern District of Georgia

 In re:                                                                          Case No.: 18−40955−EJC
 Ernest Munson Thompson and Sandra Mullis
 Thompson                                                                        Judge: Edward J. Coleman III
        Debtors
                                                                                 Chapter: 7

                             ORDER APPOINTING REAL ESTATE AGENT


   The Application of the Trustee, Tiffany E. Caron, for appointment of Cora Bett Thomas Realty & Associates as
 Real Estate Agent for the Trustee having been considered and it appearing to the Court that the employment of Cora
 Bett Thomas Realty & Associates is necessary and beneficial to this estate,
   It further appearing that the Real Estate Agent has no adverse interest to those of this estate, and that the
 employment is proper,
     IT IS THEREFORE ORDERED that the Trustee is authorized to employ the services of Cora Bett Thomas Realty
 & Associates as Real Estate Agent for the Trustee subject to objection by any party in interest within twenty−one (21)
 days of the date hereof. The compensation of such Real Estate Agent will be later fixed and determined by the Court
 in such manner as the Court may from time to time direct after notice to creditors.
                                                  [END OF DOCUMENT]

 B−04e [07−14]
